      Case 2:09-cr-00130 Document 19 Filed on 03/19/09 in TXSD Page 1 of 1




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §   CRIMINAL ACTION NO. C-09-130-2
                                             §
ERIC SOVA                                    §

                                         ORDER

       On this day came to be considered the Government's MOTION FOR STAY OF

RELEASE OF DEFENDANT PENDING REVIEW OF ORDER OF RELEASE

PURSUANT TO 18 U.S.C. § 3145(a)(1) [D,E, 18] for the above-named Defendant.

       The Court is of the opinion that this motion be and is hereby GRANTED.

       SIGNED and ORDERED this 19th day of March, 2009.


                                              ___________________________________
                                                       Janis Graham Jack
                                                    United States District Judge




1/1
